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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


 LYNN GANNON,
     Plaintiff,


 vs.                                  CASE NO. 8:15-CIV-718-T-EAK-TBM


 SANTANDER CONSUMER USA, INC.,
     Defendant.
                                                 /
                AGREED ORDER DISMISSING CASE

         This cause is before the Court on the Stipulation to Arbritrate (Doc. 8). It is

 therefore ORDERED, ADJUDGED and DECREED that: 1. Plaintiff will advance her

 claims asserted in this lawsuit as provided for in the governing Arbitration Agreement,

 2. This case is dismissed, with each party to bear its own fees and costs, and 3. The Clerk of

 Court is directed to close this case.

         DONE and ORDERED in Chambers, in Tampa, Florida, this 7th day of May,
 2015.




 Copies to: All parties and counsel of record
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 AGREED AS TO FORM AND CONTENT:
 s/ Octavio "Tav" Gomez
 Octavio "Tav" Gomez, Esquire
 Florida Bar No. 338620
 MORGAN & MORGAN, TAMPA, P.A.
 One Tampa City Center
 201 North Franklin Street, 7th Floor
 Tampa, Florida 33602
 Telephone: (813) 223-5505
 Facsimile: (813) 222-4725
 Tgomez@forthepeople.com
 Attorney for Plaintiff

 LYNN GANNON
 s/ R. Frank Springfield
 R. Frank Springfield
 Florida Bar No. 0010871
 Jacqueline Simms-Petredis
 Florida Bar No. 0906751
 BURR & FORMAN LLP
 201 North Franklin Street, Suite 3200
 Tampa, Florida 33602
 Telephone: (813) 221-2626
 Facsimile: (813) 221-7335
 fspringf@burr.com
 jsimms-petredis@burr.com
